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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Re: Docket No. 980

                                 CERTIFICATE OF NO OBJECTION

         The undersigned hereby certifies as follows:

         On February 14, 2024, Morris James LLP (“Morris James”), Delaware counsel to the

Official Committee of Equity Security Holders (the “Equity Committee”), appointed in the above-

referenced bankruptcy cases, filed the Fourth Monthly Application of Morris James LLP, as

Delaware Counsel to the Official Committee of Equity Security Holders, for Allowance of

Compensation and Reimbursement of Expenses for the Period from December 1, 2023 through

December 31, 2023 (the “Application”) [Docket No. 980].

         The deadline to object to the Application was March 5, 2024 at 4:00 p.m. (ET).

         The undersigned further certifies that after reviewing the Court’s docket in this case, no

formal answer, objection, or other responsive pleading to the Application appears thereon.

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket

No. 181], no further order is required, and Morris James is entitled to receive 80% of its fees

($22,141.60) and 100% of its expenses ($836.78).



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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 Dated: March 7, 2024                  MORRIS JAMES LLP

                                       /s/ Brya M. Keilson
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